      Case 3:18-cv-00827-CRS Document 1 Filed 12/17/18 Page 1 of 5 PageID #: 1




                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                      AT LOUISVILLE

                                   (FILED ELECTRONICALLY)


CIVIL ACTION NO. ________________________
                 3:18-cv-827-CRS

UNITED STATES OF AMERICA                                                            PLAINTIFF

vs.

RUSSELL D. THOMAS and                                                           DEFENDANTS
ANGELA THOMAS
3904 Joyce Drive
Crestwood, Kentucky 40014

COMMONWEALTH OF KENTUCKY
SERVE: Attorney General
700 Capitol Avenue, Suite 118
Frankfort, KY 40601-3449


                              COMPLAINT FOR FORECLOSURE

         Plaintiff, the United States of America, states as follows:

         1.     This is a mortgage foreclosure action brought by the United States of America on

behalf of its agency, the United States Department of Agriculture Rural Housing Service also

known as Rural Development (hereinafter collectively “RHS”).

         2.     Jurisdiction arises under 28 U.S.C. § 1345. Venue is proper in this judicial

division, where the subject property is located.

         3.     RHS is the holder of a promissory note (“the Note”) executed for value on

October 1, 2001 by Defendants Russell D. Thomas and Angela Thomas (“the Borrowers”). The

principal amount of the Note was $90,000.00, bearing interest at the rate of 6.875 percent per

annum, and payable in monthly installments as specified in the Note. A copy of the Note is

attached as Exhibit A and incorporated by reference as if set forth fully herein.
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        4.      The Note is secured by a Real Estate Mortgage (the “Mortgage”) recorded on

October 3, 2001, in Mortgage Book 889, Page 245, in the Office of the Clerk of Oldham County,

Kentucky. Through the Mortgage, the Borrowers granted RHS a first mortgage lien against the

real property including all improvements, fixtures and appurtenances thereto at 3904 Joyce

Drive, Crestwood, Oldham County, Kentucky (the “Property”) and described in more detail in

the Mortgage. A copy of the Mortgage is attached as Exhibit B and incorporated by reference as

if set forth fully herein.

        5.      To receive subsidies on the loan, the Borrowers signed a Subsidy Repayment

Agreement authorizing RHS to recapture, upon transfer of title or non-occupancy of the

Property, any subsidies granted to the Borrowers by RHS. A copy of the Subsidy Repayment

Agreement is attached as Exhibit C and incorporated by reference as if set forth fully herein.

        6.      On October 16, 2005, the Borrowers filed a Chapter 7 bankruptcy petition in the

Bankruptcy Court for the Western District of Kentucky, Case No. 05-61591. The Bankruptcy

Court granted the Borrowers a discharge from personal liability on May 12, 2006. The United

States does not seek through this action to impose personal liability against the Borrowers for

any personal liability discharged by the Bankruptcy Court and not otherwise reaffirmed, if any,

in relation to the Note and Mortgage.

        7.      On or about June 1, 2007, the Borrowers, for value, executed and delivered to

RHS a Reamortization Agreement which changed the terms of the original Note. Specifically,

the unpaid principal and the unpaid interest were combined for a new principal amount of

$102,435.79, and the amount of the monthly installment payment was increased to $693.33.

        8.      On or about November 1, 2011, the Borrowers, for value, executed and delivered

to RHS a second Reamortization Agreement which changed the terms of the original Note.

Specifically, the unpaid principal and the unpaid interest were combined for a new principal
                                                2
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amount of $112,356.59, and the amount of the monthly installment payment was increased to

$812.60.

       9.      On or about April 1, 2017, the Borrowers, for value, executed and delivered to

RHS a third Reamortization Agreement which changed the terms of the original Note.

Specifically, the unpaid principal and the unpaid interest were combined for a new principal

amount of $134,210.29, and the amount of the monthly installment payment was increased to

$1,100.48.

       10.     The Borrowers have defaulted on the Note, Mortgage and Reamortization

Agreements by failing to make payments when due.

       11.     RHS has, in accordance with the loan documents, accelerated the loan and

declared the entire principal balance, together with all accrued and unpaid interest and all other

sums due under the loan documents, to be due and payable. Further, RHS sent notice to the

Borrowers of the default and acceleration of the loan.

       12.     In accordance with the loan documents, the United States is entitled to enforce the

Mortgage through this foreclosure action and to have the Property sold to pay all amounts due,

together with the costs and expenses of this action.

       13.     The unpaid principal balance on the Note is $133,274.51 with accrued interest of

$11,396.83 through August 29, 2018 with a total subsidy granted of $23,320.78, late charges in

the amount of $377.12, and fees assessed of $531.16, for a total unpaid balance of $168,900.40

as of August 29, 2018. Interest is accruing on the unpaid principal balance at the rate of

$25.2027 per day after August 29, 2018.

       14.     The Property is indivisible and cannot be divided without materially impairing its

value and the value of RHS's lien thereon.


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       15.        Defendant Commonwealth of Kentucky may claim an interest in the Property by

virtue of a recoupment lien recorded on April 16, 2010 in Encumbrance Book 94, Page 213 in

the Oldham County Clerk's Office, a copy of which is attached as Exhibit D. The interest of this

Defendant is inferior in rank and subordinate in priority to the first mortgage lien on the Property

in favor of RHS, and the Plaintiff calls upon this Defendant to come forth and assert its interest

in or claim upon the Property, if any, and offer proof thereof, or be forever barred.

       16.        There are no other persons or entities purporting to have an interest in the

Property known to the Plaintiff.

       WHEREFORE, Plaintiff, the United States of America, on behalf of RHS, demands:

       a.         Judgment against the interests of the Borrowers in the Property in the principal

amount of $133,274.51, plus $11,396.83 interest as of August 29, 2018, and $23,320.78 for

reimbursement of interest credits, late charges in the amount of $377.12, and fees assessed of

$531.16, for a total unpaid balance due of $168,900.40 as of August 29, 2018, with interest

accruing at the daily rate of $25.2027 from August 29, 2018, until the date of entry of judgment,

and interest thereafter according to law, plus any additional costs, disbursements and expenses

advanced by the United States;

       b.         That the United States be adjudged a lien on the Property, prior and superior to

any and all other liens, claims, interests and demands, except liens for unpaid real estate ad

valorem taxes;

       c.         That the United States' lien be enforced and the Property be sold in accordance

with Title 28 U.S.C. §§ 2001-2003 subject to easements, restrictions and stipulations of record,

but free and clear of all other liens and encumbrances except liens for any unpaid ad valorem real

property taxes;


                                                    4
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        d.      That the proceeds from the sale be applied first to the costs of this action, second

to any ad valorem real property taxes, if any, third to the satisfaction of the debt, interest, costs

and fees due the United States, with the balance remaining to be distributed to the parties as their

liens or interests may appear;

        e.      That the Property be adjudged indivisible and be sold as a whole; and

        f.      That the United States receive any and all other lawful relief to which it may be

entitled.


                                                UNITED STATES OF AMERICA

                                                RUSSELL M. COLEMAN
                                                United States Attorney


                                                s/ William F. Campbell
                                                William F. Campbell
                                                Katherine A. Bell
                                                Assistant United States Attorneys
                                                717 West Broadway
                                                Louisville, Kentucky 40202
                                                Phone: 502/582-5911
                                                Fax: 502/625-7110
                                                bill.campbell@usdoj.gov
                                                Katherine.bell@usdoj.gov




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Case 3:18-cv-00827-CRS Document 1-1 Filed 12/17/18 Page 3 of 3 PageID #: 8
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Case 3:18-cv-00827-CRS Document 1-2 Filed 12/17/18 Page 2 of 6 PageID #: 10
Case 3:18-cv-00827-CRS Document 1-2 Filed 12/17/18 Page 3 of 6 PageID #: 11
Case 3:18-cv-00827-CRS Document 1-2 Filed 12/17/18 Page 4 of 6 PageID #: 12
Case 3:18-cv-00827-CRS Document 1-2 Filed 12/17/18 Page 5 of 6 PageID #: 13
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Case 3:18-cv-00827-CRS Document 1-4 Filed 12/17/18 Page 1 of 1 PageID #: 16
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                             United States District Court
                     WESTERN                         DISTRICT OF                  KENTUCKY_____________
                                                  AT LOUISVILLE


        United States of America                                 SUMMONS IN A CIVIL CASE
                                                                 CASE NUMBER:

                        v.

        Russell D. Thomas, et al.


        TO:     (Name & Address of Defendant)

                RUSSELL D. THOMAS
                3904 Joyce Drive
                Crestwood, Kentucky 40014


        YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name & address)


                        William F. Campbell
                        Katherine A. Bell
                        Assistant U.S. Attorneys
                        United States Attorney's Office
                        717 West Broadway
                        Louisville, KY 40202


an answer to the complaint which is herewith served upon you, within        twenty-one (21)       days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against
you for the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a
reasonable period of time after service.



__________________________________                                       ___________________________________
CLERK                                                                    DATE




_____________________________________
(BY) DEPUTY CLERK
    Case 3:18-cv-00827-CRS Document 1-5 Filed 12/17/18 Page 2 of 6 PageID #: 18




                                              RETURN OF SERVICE

                                                             1       Date
    Service of the Summons and Complaint was made by me
    Name of Server (Print)                                           Title

          Check one box below to indicate method of service



‫܆‬         Served personally upon the defendant. Place where served:
          ______________________________________________________________________________________


‫܆‬         Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age
and
          discretion then residing therein. Name of person with whom the summons and complaint were left:
          ______________________________________________________________________________________
          ______________________________________________________________________________________


‫܆‬         Returned unexecuted:
          ______________________________________________________________________________________
          ______________________________________________________________________________________
          ______________________________________________________________________________________


‫܆‬         Other (specify):
          ______________________________________________________________________________________
          ______________________________________________________________________________________
          ______________________________________________________________________________________



                                            STATEMENT OF SERVICE FEES

    Travel N/A                                Services                                       Total

                                               DECLARATION OF SERVER

        I declare under penalty of perjury under the laws of the United States of America that the
foregoing information contained in the Return of Service of Service Fees is true and correct.


Executed on         __________________________                         _______________________________________
                    Date                                               Signature of Server




1         As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure
         Case 3:18-cv-00827-CRS Document 1-5 Filed 12/17/18 Page 3 of 6 PageID #: 19




                             United States District Court
                     WESTERN                         DISTRICT OF                  KENTUCKY_____________
                                                  AT LOUISVILLE


        United States of America                                 SUMMONS IN A CIVIL CASE
                                                                 CASE NUMBER:

                        v.

        Russell D. Thomas, et al.


        TO:     (Name & Address of Defendant)

                ANGELA THOMAS
                3904 Joyce Drive
                Crestwood, Kentucky 40014


        YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name & address)


                        William F. Campbell
                        Katherine A. Bell
                        Assistant U.S. Attorneys
                        United States Attorney's Office
                        717 West Broadway
                        Louisville, KY 40202


an answer to the complaint which is herewith served upon you, within        twenty-one (21)       days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against
you for the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a
reasonable period of time after service.



__________________________________                                       ___________________________________
CLERK                                                                    DATE




_____________________________________
(BY) DEPUTY CLERK
    Case 3:18-cv-00827-CRS Document 1-5 Filed 12/17/18 Page 4 of 6 PageID #: 20




                                              RETURN OF SERVICE

                                                             1       Date
    Service of the Summons and Complaint was made by me
    Name of Server (Print)                                           Title

          Check one box below to indicate method of service



‫܆‬         Served personally upon the defendant. Place where served:
          ______________________________________________________________________________________


‫܆‬         Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age
and
          discretion then residing therein. Name of person with whom the summons and complaint were left:
          ______________________________________________________________________________________
          ______________________________________________________________________________________


‫܆‬         Returned unexecuted:
          ______________________________________________________________________________________
          ______________________________________________________________________________________
          ______________________________________________________________________________________


‫܆‬         Other (specify):
          ______________________________________________________________________________________
          ______________________________________________________________________________________
          ______________________________________________________________________________________



                                            STATEMENT OF SERVICE FEES

    Travel N/A                                Services                                       Total

                                               DECLARATION OF SERVER

        I declare under penalty of perjury under the laws of the United States of America that the
foregoing information contained in the Return of Service of Service Fees is true and correct.


Executed on         __________________________                         _______________________________________
                    Date                                               Signature of Server




1         As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure
         Case 3:18-cv-00827-CRS Document 1-5 Filed 12/17/18 Page 5 of 6 PageID #: 21




                             United States District Court
                     WESTERN                         DISTRICT OF                  KENTUCKY_____________
                                                  AT LOUISVILLE


        United States of America                                 SUMMONS IN A CIVIL CASE
                                                                 CASE NUMBER:

                        v.

        Russell D. Thomas, et al.


        TO:     (Name & Address of Defendant)

                COMMONWEALTH OF KENTUCKY
                SERVE: Attorney General
                700 Capitol Avenue, Suite 118
                Frankfort, KY 40601-3449


        YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name & address)


                        William F. Campbell
                        Katherine A. Bell
                        Assistant U.S. Attorneys
                        United States Attorney's Office
                        717 West Broadway
                        Louisville, KY 40202


an answer to the complaint which is herewith served upon you, within        twenty-one (21)       days after service of
this summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against
you for the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a
reasonable period of time after service.



__________________________________                                       ___________________________________
CLERK                                                                    DATE




_____________________________________
(BY) DEPUTY CLERK
    Case 3:18-cv-00827-CRS Document 1-5 Filed 12/17/18 Page 6 of 6 PageID #: 22




                                              RETURN OF SERVICE

                                                             1       Date
    Service of the Summons and Complaint was made by me
    Name of Server (Print)                                           Title

          Check one box below to indicate method of service



‫܆‬         Served personally upon the defendant. Place where served:
          ______________________________________________________________________________________


‫܆‬         Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age
and
          discretion then residing therein. Name of person with whom the summons and complaint were left:
          ______________________________________________________________________________________
          ______________________________________________________________________________________


‫܆‬         Returned unexecuted:
          ______________________________________________________________________________________
          ______________________________________________________________________________________
          ______________________________________________________________________________________


‫܆‬         Other (specify):
          ______________________________________________________________________________________
          ______________________________________________________________________________________
          ______________________________________________________________________________________



                                            STATEMENT OF SERVICE FEES

    Travel N/A                                Services                                       Total

                                               DECLARATION OF SERVER

        I declare under penalty of perjury under the laws of the United States of America that the
foregoing information contained in the Return of Service of Service Fees is true and correct.


Executed on         __________________________                         _______________________________________
                    Date                                               Signature of Server




1         As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure
                      Case 3:18-cv-00827-CRS Document 1-6 Filed 12/17/18 Page 1 of 1 PageID #: 23


2JS 44 (Rev. 11/04)                                                          CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

I. (a)      PLAINTIFFS                                                                                       DEFENDANTS
            UNITED STATES OF AMERICA                                                                            RUSSELL D. THOMAS, ET AL.

    (b) County of Residence of First Listed Plaintiff                                                        County of Residence of First Listed Defendant             OLDHAM
                               (EXCEPT IN U.S. PLAINTIFF CASES)                                                                           (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                     NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                                            LAND INVOLVED.

    (c) Attorney’s (Firm Name, Address, and Telephone Number)                                                 Attorneys (If Known)




II. BASIS OF JURISDICTION                           (Place an “X” in One Box Only)                III. CITIZENSHIP OF PRINCIPAL PARTIES(Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                     and One Box for Defendant)
✔1
u        U.S. Government                 u 3 Federal Question                                                                       PTF     DEF                                         PTF      DEF
           Plaintiff                              (U.S. Government Not a Party)                      Citizen of This State          u 1     u 1     Incorporated or Principal Place      u 4 u4
                                                                                                                                                    of Business In This State

u2       U.S. Government                 u 4 Diversity                                               Citizen of Another State      u 2       u 2    Incorporated and Principal Place     u 5      u 5
           Defendant                                                                                                                                   of Business In Another State
                                                  (Indicate Citizenship of Parties in Item III)
                                                                                                     Citizen or Subject of a       u 3       u 3    Foreign Nation                       u 6      u 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT                   (Place an “X” in One Box Only)
          CONTRACT                                           TORTS                                   FORFEITURE/PENALTY                       BANKRUPTCY                      OTHER STATUTES
u   110 Insurance                        PERSONAL INJURY                  PERSONAL INJURY            u 610 Agriculture                u 422 Appeal 28 USC 158          u   400 State Reapportionment
u   120 Marine                       u    310 Airplane                 u 362 Personal Injury -       u 620 Other Food & Drug          u 423 Withdrawal                 u   410 Antitrust
u   130 Miller Act                   u    315 Airplane Product              Med. Malpractice         u 625 Drug Related Seizure              28 USC 157                u   430 Banks and Banking
u   140 Negotiable Instrument                Liability                 u 365 Personal Injury -              of Property 21 USC 881                                     u   450 Commerce
u   150 Recovery of Overpayment      u    320 Assault, Libel &              Product Liability        u   630 Liquor Laws                   PROPERTY RIGHTS             u   460 Deportation
       & Enforcement of Judgment             Slander                   u 368 Asbestos Personal       u   640 R.R. & Truck             u 820 Copyrights                 u   470 Racketeer Influenced and
u   151 Medicare Act                 u    330 Federal Employers’            Injury Product           u   650 Airline Regs.            u 830 Patent                            Corrupt Organizations
u   152 Recovery of Defaulted                Liability                      Liability                u   660 Occupational             u 840 Trademark                  u   480 Consumer Credit
       Student Loans                 u    340 Marine                    PERSONAL PROPERTY                   Safety/Health                                              u   490 Cable/Sat TV
       (Excl. Veterans)              u    345 Marine Product           u 370 Other Fraud             u   690 Other                                                     u   810 Selective Service
u   153 Recovery of Overpayment              Liability                 u 371 Truth in Lending                    LABOR                  SOCIAL SECURITY                u   850 Securities/Commodities/
        of Veteran’s Benefits        u    350 Motor Vehicle            u 380 Other Personal          u   710 Fair Labor Standards     u 861 HIA (1395ff)                      Exchange
u   160 Stockholders’ Suits          u    355 Motor Vehicle                 Property Damage                 Act                       u 862 Black Lung (923)           u   875 Customer Challenge
u   190 Other Contract                       Product Liability         u 385 Property Damage         u   720 Labor/Mgmt. Relations    u 863 DIWC/DIWW (405(g))                12 USC 3410
u   195 Contract Product Liability   u    360 Other Personal                Product Liability        u   730 Labor/Mgmt.Reporting     u 864 SSID Title XVI             u   890 Other Statutory Actions
u   196 Franchise                            Injury                                                         & Disclosure Act          u 865 RSI (405(g))               u   891 Agricultural Acts
      REAL PROPERTY                        CIVIL RIGHTS                 PRISONER PETITIONS           u   740 Railway Labor Act          FEDERAL TAX SUITS              u   892 Economic Stabilization Act
u   210 Land Condemnation            u    441 Voting                   u 510 Motions to Vacate       u   790 Other Labor Litigation   u 870 Taxes (U.S. Plaintiff      u   893 Environmental Matters
✔
u   220 Foreclosure                  u    442 Employment                      Sentence               u   791 Empl. Ret. Inc.               or Defendant)               u   894 Energy Allocation Act
u   230 Rent Lease & Ejectment       u    443 Housing/                     Habeas Corpus:                   Security Act              u 871 IRS—Third Party            u   895 Freedom of Information
u   240 Torts to Land                        Accommodations            u   530 General                                                     26 USC 7609                        Act
u   245 Tort Product Liability       u    444 Welfare                  u   535 Death Penalty                                                                           u   900Appeal of Fee Determination
u   290 All Other Real Property      u    445 Amer. w/Disabilities -   u   540 Mandamus & Other                                                                               Under Equal Access
                                             Employment                u   550 Civil Rights                                                                                   to Justice
                                     u    446 Amer. w/Disabilities -   u   555 Prison Condition                                                                        u   950 Constitutionality of
                                             Other                                                                                                                            State Statutes
                                     u    440 Other Civil Rights

V. ORIGIN                   (Place an “X” in One Box Only)                                                                                                                             Appeal to District
✔1
u        Original        u 2    Removed from          u 3 Remanded from             u 4 Reinstated or u 5 Transferred          from
                                                                                                                  another district    u 6 Multidistrict                      u 7       Judge from
                                                                                                                                                                                       Magistrate
         Proceeding             State Court                    Appellate Court              Reopened              (specify)                  Litigation                                Judgment
                                        Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                            28 U.S.C. SECTION 1345
VI. CAUSE OF ACTION                         Brief description of cause:
                                            RURAL HOUSING SERVICE (RHS) f/k/a FARMERS HOME ADMINISTRATION (FmHA) FEDERAL FORECLOSURE
VII. REQUESTED IN                           u    CHECK IF THIS IS A CLASS ACTION                         DEMAND $                                 CHECK YES only if demanded in complaint:
     COMPLAINT:                                  UNDER F.R.C.P. 23                                       $168,900.40                              JURY DEMAND:         u Yes     u✔No
VIII. RELATED CASE(S)
                                               (See instructions):
      IF ANY                                                           JUDGE                                                               DOCKET NUMBER

DATE                                                                       SIGNATURE OF ATTORNEY OF RECORD

12/17/2018                                                                   s/ William F. Campbell
FOR OFFICE USE ONLY

    RECEIPT #                    AMOUNT                                      APPLYING IFP                                  JUDGE                           MAG. JUDGE
